Case 23-00047-pmm           Doc 18     Filed 09/15/23 Entered 09/15/23 14:59:56                  Desc Main
                                      Document      Page 1 of 3



                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:

 MIDNIGHT MADNESS DISTILLING LLC,
                                                                        CHAPTER 7
                                  Debtor.                               Case No. 21-11750-MDC

 _________________________________________________

 BONNIE B. FINKEL, in her capacity as Chapter 7                         Adv. No. 23-00047-MDC
 Trustee for Midnight Madness Distilling LLC,

                                  Plaintiff,
                                                                        JURY TRIAL DEMANDED
                          v.

 CASEY PARZYCH; SHAWN SHEEHAN; ANGUS
 RITTENBURG; KELLY FESTA; ASHLEIGH
 BALDWIN; MICHAEL BOYER; R.F. CULBERTSON;
 GARY PARZYCH; RYAN USZENSKI; POLEBRIDGE,
 LLC; GOOD DESIGN, INC.; AGTECH PA LLC;
 AGTECH VI, LLC; XO ENERGY WORLDWIDE,
 LLLP; XO EW, LLC; CAN MAN LLC; BEST BEV,
 LLC; ETOH WORLDWIDE, LLC; CANVAS 340, LLC;
 FINLAND LEASING CO., INC.; and EUGENE T.
 PARZYCH, INC.,

                                  Defendants.


                                        NOTICE OF MOTION

        Moving Defendants1 have filed the Moving Defendants’ Rule 12(b)(6) Motion to Dismiss
for Failure to State a Claim Upon Which Relief Can be Granted, together with a memorandum of
law and proposed order (the “Motion”) [Adv. D.I. 17], in the above-captioned adversary
proceeding.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult an attorney).


1 The Moving Defendants are Casey Parzych; Angus Rittenburg; Kelly A. Festa; Ashleigh Baldwin; Michael Boyer;
R.F. Culbertson; Polebridge, LLC; Good Design, Inc.; AgTech PA LLC; AgTech VI, LLC; XO Energy Worldwide,
LLLP; XO EW, LLC; Best Bev, LLC; EtOH Worldwide, LLC; Canvas 340, LLC; and Shawn Sheehan.
Case 23-00047-pmm        Doc 18     Filed 09/15/23 Entered 09/15/23 14:59:56            Desc Main
                                   Document      Page 2 of 3



       1.      If you do not want the Court to grant the relief sought in the Motion or if you want
the court to consider your views on the Motion, then on or before October 6, 2023, you or your
attorney must do all of the following:

               a.     file an answer or objection explaining your position at:

                      Clerk, United States Bankruptcy Court
                      Robert N.C. Nix Building
                      900 Market Street, Suite 400
                      Philadelphia, PA 19107-4299

               B.     serve a copy of your answer or objection upon Moving Defendants’ counsel:

                      Stephen M. Packman
                      Douglas G. Leney
                      Mariam Khoudari
                      ARCHER & GREINER, P.C.
                      Three Logan Square
                      1717 Arch Street, Suite 3500
                      Philadelphia, PA 19103
                      Phone: (215) 963-3300
                      Fax: (215) 963-9999
                      spackman@archerlaw.com
                      dleney@archerlaw.com
                      mkhoudari@archerlaw.com

       2.     If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above, the Court may enter an order granting the relief requested in the Motion without a
hearing.

       3.      A hearing on the Motion, if any, will be scheduled by the Court.

        4.     If a copy of the Motion is not enclosed, a copy of the Motion will be provided to
you if you request a copy from the attorney named in paragraph 1(b).

      5.      You may contact the Bankruptcy Clerk’s office at 215-408-2800 to find out
whether any hearing has been cancelled because no one filed an answer.
Case 23-00047-pmm     Doc 18    Filed 09/15/23 Entered 09/15/23 14:59:56   Desc Main
                               Document      Page 3 of 3



 Date: September 15, 2023                  ARCHER & GREINER, P.C.

                                           /s/ Stephen M. Packman
                                           Stephen M. Packman
                                           Douglas G. Leney
                                           Mariam Khoudari
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